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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
BLAIR IMANI, et al.                    )
                                       )
                    Plaintiffs,        )  Docket No. 17-cv-00439-JWD-EWD
      v.                               )
                                       )
CITY OF BATON ROUGE, et al.            )
                                       )
                    Defendants.        )
______________________________________ )

                  CONSENT MOTION TO AMEND SCHEDULING ORDER

        NOW INTO COURT come Plaintiffs, with consent of Defendants, to request that the trial

schedule in the above-captioned case be amended from a five-day trial to a ten-day trial.

        Discovery in this matter closed on August 27, 2021.1 R. Doc. 281. Since June 9, 2021,

Plaintiffs have deposed more than 30 Defendants over approximately 100 hours. R. Doc. 283-2.

Parties have also engaged in a significant amount of written discovery. Through those

depositions and other discovery efforts, Plaintiffs (with input from Defendants’ counsel) have

sought to refine and streamline the issues in this case as much as practicable and are preparing to

voluntarily dismiss a number of Defendants.

        Despite these efforts, all parties in this matter have conferred and determined that it

would not be practicable to complete the trial in the scheduled five days. Testimony from the 14

Plaintiffs and approximately 20-25 remaining Defendants, alone, is anticipated to exceed the

scheduled five days of trial. The trial would further include the introduction of a significant

amount of video and audio evidence documenting the hours-long protest, plus testimony from




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 Although discovery is closed, Plaintiffs’ Motion to Compel Compliance with Subpoenas and Contempt of
Subpoenas regarding some depositions that were not completed is still pending. R. Doc. 282.

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various non-party witnesses and two expert witnesses. Once Plaintiffs’ case concludes, counsel

for Defendants have indicated that they would need approximately 2-3 days to present their case.

       Although discovery has helped Plaintiffs streamline many aspects of their case, some

deposition testimony revealed previously unknown details regarding the allegations which will

require additional time and witnesses to present to a jury. The final months of discovery have

also produced additional video, audio, and other documentary evidence not previously produced

which will take more time to present at trial. And even if some claims are resolved through pre-

trial motions, the raw number of witnesses needed at trial is not expected to be significantly

affected.

       Plaintiffs are not requesting any modification of disposition motion deadline or other

non-trial related deadlines. Plaintiffs would prefer not to continue the trial, if possible

considering the court’s docket.

       WHEREFORE, Plaintiffs request that the trial length be enlarged to ten days.

                                                       Respectfully submitted,
                                                       /s/ David Lanser
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